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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF IOWA


       UNITED STATES OF AMERICA                          No. 4:19-cr-00172-RGE-HCA-2
            Plaintiff,
                                                         COUNSEL WITHDRAWS
                                                         LETTER OF SUPPORT, ECF No.
       vs.                                               250


       RUBY KATHERINE MONTOYA
             Defendant.




       COMES NOW, Maria C. Borbon, counsel undersigned, moves to withdraw her letter of

support, ECF No. 250, which was authored prior to requesting to appear pro hac vice on behalf of

the Defendant, in compliance with the Iowa Rules of Professional Conduct, including rule 32:3.7




                                                     Respectfully submitted,

                                                     /s/ Maria C. Borbon
                                                     Maria C. Borbon
                                                     July 10, 2022
